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IN THE UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT
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SECURITIES AND EXCHANGE COMMISSION,

Plaintiff-Respondent,

-V.-—

COINBASE, INC. AND COINBASE GLOBAL, INC.,

Defendants-Petitioners.

On Appeal from the United States District Court
for the Southern District of New York
(No. 1:23-ev-4738-KPF) (Hon. Katherine Polk Failla)

PETITION FOR PERMISSION TO APPEAL
PURSUANT TO 28 USS.C. § 1292(b)

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CORPORATE DISCLOSURE STATEMENT

Pursuant to Federal Rule of Appellate Procedure 26.1, Defendants-
Petitioners Coinbase, Inc. and Coinbase Global, Inc. state as follows:

Coinbase, Inc. is a wholly owned subsidiary of Coinbase Global, Inc.

Coinbase Global, Inc. is a publicly held corporation and does not have
any parent corporation. To the best of Coinbase Global’s knowledge, no

publicly held corporation owns 10% or more of Coinbase Global’s stock.
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INTRODUCTION

There is no more pressing issue in securities law today than the scope
of the Securities and Exchange Commission’s authority to regulate
secondary trades of digital assets. These assets are now a permanent fixture
of our financial system, with the global cryptocurrency market above three
trillion dollars and growing. Coinbase operates the largest digital-asset
trading platform in the United States, enabling millions of users to trade
digital assets worth billions of dollars every month. Those users, along with
crypto companies, the Commission, and lower courts, badly need clarity on
what the federal securities laws require. Only this Court’s immediate review
can provide it.

Hearing this appeal will allow the Court to clear away the cloud that
currently hangs over the cryptocurrency market. Simply put, the trades on
Coinbase’s platform do not trigger the federal securities laws. Sellers are
matched in Coinbase’s blind bid-ask system with buyers who want to
exchange another digital asset or other currency. The parties are anonymous
to each other, make no exchange or promise other than the sale of the digital
asset itself, and thus have no obligation or continuing commitment to each

other past the point of sale. Buyers also do not obtain any rights as against
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the asset’s issuer, as they do with securities like stocks or bonds. Trades on
Coinbase’s platform are thus not securities transactions but asset sales—
albeit of digital assets rather than physical ones.

Not that long ago, the Commission’s leadership agreed. See Coinbase
v. SEC, — F 4th __, 2025 WL 78330, at *3 (8rd Cir. Jan. 18, 2025). In April
2021, the Commission accepted Coinbase’s registration statement and
allowed Coinbase to become a publicly traded company. Compl.1111. In
May 2021, Chair Gary Gensler testified before Congress that “the exchanges
trading in these crypto assets do not have a regulatory framework” at the

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SEC, and “only Congress” “could really” regulate “crypto exchanges.”
Coinbase, 2025 WL 78330, at “3. But after Congress considered and declined
to pass various bills that would have regulated digital-asset trading, see
Compl. 11 51-53, the Commission changed its tune, see Cownbase, 2025 WL
78330 at “3-4. In June 2023, it brought this action, claiming that the trades
on Coinbase’s platforms were securities transactions all along—and thus
Coinbase had been operating an unregistered securities exchange in violation
of the federal securities laws. Compl. 179.

Whether the Commission’s leadership was right in 2021 or in 2023

turns on the meaning of the term “investment contract” in the federal
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securities laws—and in particular on the Supreme Court’s interpretation of
that term in SEC v. W.J. Howey Co., 328 U.S. 293 (1946). In Howey, the
Court held that an investment contract exists where “a person invests his
money in a common enterprise and is led to expect profits solely from the
efforts of the promoter or a third party.” Jd. at 299. The trading on
Coinbase’s platform does not meet that test: there is no common enterprise
between the seller and buyer, who is not led to expect profits solely from any
efforts by the seller or any other party. The district court here held that the
Howey test is satisfied because purchasers expect digital-asset zssuers to
develop “the ecosystem surrounding a crypto-asset.” App. 186a (emphasis
added). That ruling is a sharp break from settled securities law. For nearly a
century, no court had found an investment contract without a contractual
undertaking that resulted in a post-sale obligation.

The district court correctly recognized that its decision warrants this
Court’s immediate attention. App. llla, 187a-138a. It satisfies all three
criteria for an interlocutory appeal under 28 U.S.C. § 1292—often in
independently sufficient ways. First, it involves a “controlling question of
law,” both for these parties and for other litigation relating to the broader

industry. App. 122a. Second, there is “a substantial ground for difference of
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opinion.” App. 18la. District courts inside and outside this Circuit have
taken different approaches, and the question is a novel and difficult one that
this Court has not yet addressed. App. 122a, 130a-13la. Third, resolving this
question not only would materially advance this litigation, but also would
provide clarity to market participants and regulators alike. App. 122a. By
any measure, the question of whether the Commission has jurisdiction over
an innovative, multi-trillion-dollar industry merits this Court’s attention.

The Court should therefore accept review of this case, which presents
the single best opportunity to decide the fundamental legal question of how
to treat the secondary trading of digital assets. This Court has long played a
preeminent role in shaping the law that governs financial markets, and its
guidance is needed once again. Without it, market participants face different
rules before different courts, and neither the Commission nor Congress can
be certain who is responsible for the regulation of digital-asset trading. For
all of the reasons given by the district court in its thorough order, this Court
should accept certification.

STATEMENT OF JURISDICTION

On January 7, 2025, the district court certified for appeal under

28 U.S.C. § 1292(b) its March 27, 2024 order denying in part Coinbase’s
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motion for judgment on the pleadings. This petition is timely because it was
filed within ten days of that certification order. See 28 U.S.C. § 1292(b); Fed.
R. App. P 5(a)(3). The district court had jurisdiction of this enforcement
action under 28 U.S.C. § 1331; 15 U.S.C. 8§ 77t(b), 77t(d), and 77(v); and
15 U.S.C. §§ 78u(d), 78(e), and 78aa.

STATEMENT OF THE ISSUE

The question presented is whether or when digital-asset transactions
in the secondary market are “investment contract[s]” within the meaning of
the federal securities laws. 15 U.S.C. § 78e(a)(10); see 15 U.S.C. § 77b(a)(1).

STATEMENT OF THE CASE

Since the release of the first eryptocurrency in 2009, the rise of the
crypto industry represents one of the most significant technological
developments of the twenty-first century. Coinbase has been at the
vanguard of that development: founded in 2012, Coinbase is now the largest
platform for trading digital assets in the United States. Millions of
consumers trade hundreds of assets on its platform, including popular
cryptocurrencies like Bitcoin, Ether, Solana, and XRP But the Commission
has never alleged that any of those transactions on Coinbase’s platform

involve a contract that includes post-sale obligations.
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For a time, Coinbase’s secondary-market trading—including in assets
now featured in this case’s complaint—had the apparent blessing of the
Securities and Exchange Commission. In April 2021, after a six-month
review, the Commission declared Coinbase’s registration statement effective
and in the public interest, and since that time Coinbase has been a publicly
traded company. Compl.4111. Only two years later, however, the
Commission did an about-face and brought this action, claiming among other
things that Coinbase’s platform is an unregistered securities exchange. Id.
1 79.

Coinbase moved for judgment on the pleadings. It argued that
secondary-market trades of the various crypto assets at issue are not
“investment contract[s]” for purposes of the federal securities laws under
Howey. It also argued that applying those laws to digital-asset transactions
is a major question and that Congress has not clearly authorized the
Commission’s unprecedented assertion of sweeping regulatory authority.
The district court disagreed with both arguments and denied in relevant part
judgment on the pleadings.

Coinbase then moved for certification under 28 U.S.C. $ 1292(b), which

the district court granted in a thorough and well-reasoned decision. The
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court first held that “whether Coinbase’s crypto-asset transactions are

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securities” “presents a clear and controlling question of law.” App. 122a,
125a. That question is “a purely legal one because it is largely a matter of
statutory interpretation, rather than a matter of analyzing the factual
record.” App. 127a. The court explained that the question would both
“significantly affect the conduct of th[is] action” and have “precedential value
for a large number of cases.” App. 127a-128a (citation omitted). There is
substantial ground for difference of opinion both “because (i) conflicting
authority exists regarding Howey’s application to crypto-assets, and (ii) the
application of Howey to crypto-assets raises a difficult issue of first
impression for the Second Circuit.” App. 131la. Finally, the court determined
that an appeal “would materially advance the ultimate termination of the
litigation because it could result in the dismissal of the bulk of the SEC’s

claims against Coinbase.” App. 139a.

ARGUMENT

This Court should review this case. As the district court correctly held,
its order denying judgment on the pleadings satisfies all three Section
1292(b) criteria: it presents a controlling question of law, there is substantial

ground for a difference of opinion, and an immediate appeal may materially
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advance the litigation. Indeed, this case cries out for the Court’s immediate
attention. Whether secondary-market trading of digital assets falls within
the federal securities laws is a question of immense importance to the crypto
industry, consumers, financial institutions, and lower courts in need of
guidance. This case presents an ideal vehicle to address that question and
provide clear rules for this multi-trillion-dollar industry.

A. Whether Digital-Asset Transactions In The Secondary

Market Are Investment Contracts Is A Controlling Question
Of Law.

The question whether trading a digital asset on a secondary market
constitutes an investment contract is precisely the type of “pure question of
law” that a reviewing court can “decide quickly and cleanly.” In re A2P SMS
Antitrust Litig., 2015 WL 876456, at *3-4 (S.D.N.Y. March 2, 2015) (citations
and quotations omitted). And it is “controlling” for two reasons: _ its
favorable resolution for Coinbase could “result in dismissal of the action” or
“could significantly affect the conduct of the action,” and the Court’s decision
would have significant precedential value for other cases. Jd.

1. The question presented is purely legal.

A pure question of law is one that this Court can answer by consulting

only legal authorities and the pleadings. See Dupree v. Younger, 598 U.S.
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729, 735 (2023) (“[P]urely legal issues” are those “that can be resolved
without reference to any disputed facts.”). The quintessential example is a
question of statutory interpretation. See Loper Bright Enterprises v.
Raimondo, 603 U.S. 369, 387 (2024) (“[T]he interpretation of the meaning of
statutes” is a “question[] of law.”). For that reason, this Court routinely
accepts certification under Section 1292(b) for questions of statutory
interpretation. See, eg., Kasiotis v. New York Black Car Operators’ Inj.
Comp. Fund, Inc, 90 F4th 95 (2d Cir. 2024); United States ex rel.
Quartararo v. Cath. Health Sys. of Long Island Inc., 84 F4th 126 (2d Cir.
2023); SEC v. Rio Tinto PLC, 41 F4th 47 (2d Cir. 2022).

The district court correctly held that an appeal here presents a “pure
question of law” because it involves the interpretation of a federal statutory
provision that does not rest on any factual dispute between the parties. App.
125a-126a. The sole dispute at this stage is the meaning of “investment
contract” under the federal securities laws. 15 U.S.C. § 78e(a)(10); see
15 U.S.C. § 77b(a)). The assets at issue were traded on the secondary
market on a blind bid-ask basis, meaning that the parties did not know each
other’s identity. Compl. 1188, 97. The Commission has never alleged that,

as with traditional securities, any rights or obligations ran with the assets
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from the issuers to the purchasers. Nor has the Commission alleged that
Coinbase intended to disregard the federal securities laws. For those
reasons, the district court decided whether these transactions were
investment contracts “based on the pleadings and without a factual record.”
App. 126a. This Court too would need to consult only “a limited universe of
familiar texts”—in particular, the statute, the Supreme Court’s decision in
Howey, and its recent decisions on the major-questions doctrine. Jd.
(internal quotation marks omitted).

The district court contrasted this case with SEC v. Ripple Labs., Inc.,
682 EF. Supp. 3d 308 (S.D.N.Y. 2023) (Rapple I), which is currently on appeal
before this Court. See App. 126a; SEC v. Ripple Labs., Inc., Nos. 24-2648,
24-2705 (2d Cir.). In Ripple, another district court concluded that whether
the particular crypto transactions there were investment contracts required
careful review of “an extensive, heavily disputed factual record and detailed
expert reports.” SEC v. Ripple Labs., Inc., 697 F. Supp. 3d 126, 132 (S.D.N_Y.
2023) (Ripple IT) (denying motion to certify for interlocutory appeal the
order in Ripple I). By contrast, the district court here correctly treated “the
application of Howey to crypto-asset transactions” as a legal question, not a

factual one. App. 126a. The court answered that question the wrong way,

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but the relevant point is that this case presents a clean, purely legal vehicle
for addressing whether secondary-market transactions are investment
contracts under the Howey framework. Because Ripple is already before
this Court, that weighs heavily in favor of interlocutory review in this case,
where there are no potential barriers to resolving the broader legal question.

2. The question presented is controlling.

A question is “controlling” if this Court’s guidance would considerably
narrow the scope of the litigation. See Hart v. Rick’s Cabaret Int'l, Inc.,
73 F. Supp. 3d 382, 393 (S.D.N.Y. 2014) (citation and quotations omitted); see
also In re Duplan Corp., 591 F.2d 139, 148 n.11 (2d Cir. 1978) (Friendly, J.)
(“[A] controlling question of law ... include[s] a procedural determination
that may importantly affect the conduct of an action.”). A question can also
be “controlling” in the broader sense if its resolution would produce
“precedential value for a large number of cases.” SEC v. Rio Tinto PLC,
2021 WL 1893165, at *2 (S.D.N.Y. May 11, 2021); see Klinghoffer v. S.N.C.
Achille Lauro, 921 F.2d 21, 24 (2d Cir. 1990).

As the district court explained, the question here is controlling in both
senses. For starters, this Court’s resolution of the question in Coinbase’s

favor would “dispose of the SEC’s principal claims, which account for the

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bulk of the complaint’s factual allegations.” App. 127a. If digital-asset
transactions in the secondary market are not investment contracts under
Howey, then Coinbase is not an unregistered securities exchange, full stop.
And of course if regulating digital-asset transactions is a major question and
Congress has not clearly delegated that authority to the Commission, then
this entire litigation is over because the ball is in Congress’s court. Resolving
the question thus “could significantly affect the conduct of th[is] action.”
Dev. Specialists, Inc. v. Akin Gump Strauss Hauer & Feld LEP, 2012 WL
2952929, at *4 (S.D.N.Y. July 18, 2012) (citation omitted).

The question is “controlling in the broader sense too,” because this
Court’s decision would have significant “precedential value” for other cases.
App. 129a. Already to date, multiple lower courts have reached conflicting
conclusions after struggling to apply Howey to the secondary market for
digital-asset transactions. As the district court put it, the fact of “these
conflicting decisions on an important legal issue necessitate[s] the Second
Circuit’s guidance.” App. 130a. Crypto companies, consumers, the
Commission, traditional financial institutions, and lower courts would all
benefit from an authoritative ruling from this Court. The Commission itself

said as much when it urged the district court in Ripple to certify an

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interlocutory appeal. See SEC Mem. of Law in Supp. of Mot., Repple, ECF
No. 893 (S.D.N.Y. Aug. 18, 2023), at 2 (“[T]he intra-district split on critical
aspects of the legal framework governing the [Commission’s] claims
heightens the need for appellate resolution.”). The Commission was right
then and the district court is right now: this Court’s review is needed.

B. Whether Digital-Asset Transactions In The Secondary

Market Are Investment Contracts Provides Substantial
Ground For Difference Of Opinion.

Substantial ground for difference of opinion exists when “there is
conflicting authority on the issue, or the issue is particularly difficult and of
first impression for the Second Circuit.” In re Enron Corp., 2007 WL
2780394, at *1 (S.D.N.Y. Sept. 24, 2007) (internal quotation marks omitted).
As the district court recognized, this petition “meets not one but both
independently sufficient tests under the second prong of Section 1292(b).”
App. 139a.

1. The question has divided several district courts.

Most obviously, there is substantial ground for difference of opinion
because there are already “differing rulings ... within this Circuit.” Yu v.

Hasaki Rest., Inc., 874 F.3d 94, 98 (2d Cir. 2017). So far, five district judges—

three within this Circuit, one in the District of Columbia, and one in the

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Northern District of California—have disagreed over how the Howey
framework applies to secondary-market transactions in crypto assets.

In Ripple I, the district court (Torres, J.) concluded that blind bid-ask
crypto transactions involving the issuer are not investment contracts. See
682 EF Supp. 3d at 330. The court reasoned that, among other things, the
issuer “did not make any promises or offers because [it] did not know who
was buying” the crypto asset; “the purchasers did not know who was selling”
the crypto asset; and the secondary-market sales “were not made pursuant
to contracts that contained lockup provisions, resale restrictions,
indemnification clauses, or statements of purpose.” Jd. at 329. That
reasoning applies equally here, but the court in Rapple J made clear that it
was not deciding the question of whether secondary-market transactions are
investment contracts when the parties have no relationship to the issuer. See
id. at 329 n.16. Only this case presents the Court with the opportunity to
decide that broader and far more consequential issue.

A split emerged days after Ripple J when another district court
(Rakoff, J.) decided SEC v. Terraform, 684 F. Supp. 3d 170 (S.D.N.Y. 2023).
There, the court expressly disagreed with Ripple I by concluding that at

least in some circumstances bid-ask crypto transactions may constitute

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investment contracts when the asset’s issuer is one of the traders. Jd. at 197
(citing Ripple I, 682 F. Supp. 3d at 328).

The district court below (Failla, J.) deepened the split by adopting
reasoning akin to Terraform’s and extending its application to secondary-
market transactions not involving issuers. See App. 13la, 133a. In direct
conflict with Rapple I, the court held that a secondary-market transaction
can constitute an investment contract even if the issuer has never interacted
with the buyer, merely because the purchaser expects some return from “the
continued development of the ecosystem surrounding a crypto-asset.” App.
136a. On that reasoning, of course, any secondary-market transaction can be
an investment contract, depending on the purchaser’s expectation.

Since the decision below, the conflict has spread beyond this Circuit. In
SEC v. Binance Holdings Limited, the district court for the District of
Columbia (Jackson, J.) indicated that it agreed with the reasoning of
Ripple I, and thus questioned whether crypto transactions conducted on
secondary markets can qualify as investment contracts. See 2024 WL
3225974, at *19-20 (D.D.C. Jun. 28, 2024). By contrast, in SEC v. Payward,
Inc., the district court for the Northern District of California (Orrick, J.)

found that the Commission had pleaded its way around Ripple I and

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Binance, although that case too was about secondary-market transactions
not involving issuers. See 2024 WL 4511499, at *15-16 (N.D. Cal. Aug. 23,
2024).

In its certification order here, the district court correctly rejected the
notion that the different outcomes in Rzpple I, Terraform, Binance, and this
case could be explained by factual differences between the different crypto
assets. As the court explained, there is “persistent disagreement about how
to apply Howey to crypto-assets.” App. 152a. Simply put, market
participants now face conflicting rules both inside and outside this Circuit.
That is an untenable position for companies like Coinbase that operate
nationwide exchanges—and for the tens of millions of Americans who own
digital assets with the expectation that they can transact with one another on
the secondary markets without the overlay of the federal securities laws.
More than ground for difference of opinion, there is an actual difference that
only this Court can resolve.

2. The question is particularly difficult and of first
impression.

The second prong of Section 1292(b) is satisfied for the independent
reason that “the issue is particularly difficult and of first impression for [this

Court].” Capitol Records, LLC v. Vimeo, LLC, 972 EF Supp. 2d 537, 551

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(S.D.N.Y. 2013); see Weber v. United States, 484 F.3d 154, 159 (2d Cir. 2007)
(Congress passed Section 1292(b) “to assure the prompt resolution of knotty
legal problems.”). The primary consideration is “the strength of the
arguments in opposition to the challenged ruling.” Capitol Records, 972 F.
Supp. 2d at 551. Even the district court, although it disagreed with
Coinbase’s arguments, recognized that the question of how Howey applies to
digital assets “raises a difficult issue of first impression for the Second
Circuit.” App. 18la; see App. 138a (“There is indeed substantial ground to
dispute how Howey is applied to crypto-assets and the role of the
surrounding digital ecosystem in that analysis.”).

To start, the text of the federal securities laws requires an “investment
contract.” 15 U.S.C. § 78e(a)(10); see 15 U.S.C. § 77b(a)(1). As the Supreme
Court explained in Howey, that term covers a sale where the buyer has
gotten a commitment from the seller to act in ways that will cause the asset
to increase in value or generate a profit. See 328 U.S. at 298-299. After all, it
is the commitment to deliver future value—rather than the mere expectation
or hope that the asset will rise in value—that distinguishes an investment
contract from an ordinary asset sale. Every day people buy countless things,

from land to baseball cards to comic books, that they expect to appreciate in

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value based on the specific actions or efforts of others, or even simply based
on the general ecosystem in which those assets are traded. But the mere
expectation of appreciation does not convert such sales into securities
transactions.

Howey itself is an excellent example of the difference between a simple
asset sale and an investment contract. There, the owners of a Florida resort
marketed adjacent orange groves to out-of-towners, walking them around
the groves and giving them a sales talk that touted how buying a grove plot
would generate sizable returns from the company’s fruit harvesting. See
328 U.S. at 296-297. The purchasers were not simply buying into an
amorphous “ecosystem” with the mere hope of receiving profit from others’
promotional efforts. Rather, they were affirmatively induced into a “common
enterprise” or “profit-seeking business venture” by Howey’s contractual
undertaking to “cultivat[e], harvest[] and market[]” the orange groves. Jd. at
299-300. That undertaking was a post-sale obligation: Howey could not
simply sell the land and then pack up shop. Here, neither the secondary-

market traders nor the issuers make any similar commitments.

At a minimum, the term “investment contract” in the Securities

Exchange Act does not clearly extend to the trading of digital assets on a

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secondary market by unrelated parties who make no post-sale commitments
to one another. That alone should resolve this appeal under the major-
questions doctrine. Because the question of how to treat secondary-market
crypto transactions is one of “vast economic and political significance,”
Utility Air Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014) (citation and
quotation omitted), the Commission must point to “clear congressional
authorization” for its regulatory oversight, Biden v. Nebraska, 143 8. Ct.
2355, 2375 (2023). It lacks such authority here. Cf. Coinbase, 2025 WL 78330
at *28 (Bibas, J., concurring) (“One might wonder if an agency whose mission
is maintaining fair, orderly, and efficient markets is authorized to ban an
emerging technology.”). That is a second reason why the question presented
is sufficiently difficult to warrant this Court’s attention.

C. An Immediate Appeal May Materially Advance _ the
Litigation.

Finally, as the district court recognized, “immediate interlocutory
appeal would materially advance the ultimate termination of the litigation
because it could result in dismissal of the bulk of the SEC’s claims against
Coinbase.” App. 159a. The analysis on this prong “in practice is closely
connected to the first factor.” Capitol Records, 972 F. Supp. 2d at 551

(internal quotation and citation omitted). It centers on the “institutional

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efficiency of both the district court and the appellate court.” Azo Tinto, 2021
WL 1893165, at *2. Here, “an intermediate appeal promises to advance the
time for trial or to shorten the time required for trial.” Capitol Records, 972
FE. Supp. 2d at 551. And it would create significant efficiencies for this Court
when considered in conjunction with the pending Ripple appeals.

1. If this Court were to agree with Coinbase that the trades on its
platform are not securities transactions, that would “substantially reduce the
issues to be tried.” App. 140a. As the district court explained, “three
quarters of the SEC’s allegations in this case” would drop out altogether
because they pertain exclusively to claims under the Exchange Act. App.
140a. And depending on this Court’s reasoning, the full case could be
resolved: the remaining claims involve Coinbase’s “staking” program, which
the district court analyzed under the Howey framework too. App. 14la
(noting that this Court could address the staking program on appeal).

The interests of judicial economy thus favor this Court’s immediate
review. Without this Court’s intervention on this pure question of law, the
litigation could be “consume[d]’ by years of cumbersome and costly analysis
of the “facts relating to the ‘ecosystems’ of the 12 [crypto assets] the SEC

has identified.” App. 140a. The district court rejected the SEC’s

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characterization of those burdens as “overstated,” noting that it had recently
extended the discovery deadlines for the second time. App. 14la. And it
explained that because this important issue will land on this Court’s doorstep
one way or the other, “it would hardly be efficient for this action to proceed
under the sword of Damocles.” App. 14la. Instead, this Court should act
now to resolve the standalone statutory-interpretation question and remove
the “cloud of legal uncertainty that hangs over” other actions and the
conduct of this multi-trillion-dollar industry and its various stakeholders.
FHFA v. UBS Ams., Inc., 858 F. Supp. 2d 306, 3387-338 (S.D.N.Y. 2012)
(citation omitted); see, e.g., Payward, Inc., 2024 WL 4511499.

2. Interlocutory review here would be particularly beneficial
because it will coincide with this Court’s review of SEC v. Ripple Labs., Inc.,
Nos. 25-2648, 24-2705. Briefing in those appeals is currently scheduled to
extend into July if the parties take their full allotted time, and so this case
could easily catch up if this Court wishes to review the cases together. In any
event, it is important for the Court to review this case in addition to Ripple
for three reasons.

First, Ripple presents less than half the story, raising the narrow and

peripheral question of how to treat transactions by a single issuer of a single

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digital asset (XRP). The district court in Rzpple I expressly declined to
address the far broader question of secondary-market transactions involving
parties unrelated to the issuer. See 682 F. Supp. 3d at 329 n.16. This case
concerns only such trades and for a wide variety of assets. The type of
transactions at issue in this case make up the lion’s share of crypto trading
today, and legal uncertainty over such trades casts a shadow over many
billions of dollars of transactions in today’s markets. Granting review here is
thus critical to ensuring that the overarching question of how to apply Howey
to secondary-market transactions of digital assets is thoroughly ventilated.
Coinbase represents the ideal party for testing the Commission’s authority
because the company hosts one of the most popular platforms that ordinary
consumers use to access crypto assets, and its operations represent the
heartland of an industry the Commission is attempting to regulate for the
first time.

Second, this appeal presents a pure question of statutory
interpretation. By contrast, as the district court explained, Ripple involved a
series of factual determinations that could complicate this Court’s ability to
decide the overarching legal question. App. 126a-127a. This Court should

get a clean shot at that question, and interlocutory review here ensures that

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it will. It also ensures that this Court will have the benefit of two lower-court
opinions before it that take different approaches. The Supreme Court has
routinely consolidated some of its highest profile cases in recent years, see,
e.g., Moody v. NetChoice, LLC, 603 U.S. 707 (2024); Loper Bright Enter. v.
Raimondo, 603 U.S. 369 (2024); Avon Enter v. FTC, 598 U.S. 175 (2023);
SFFA v. Harvard, 600 U.S. 181 (2023), and the same considerations should
guide this Court’s exercise of its discretionary review.

Third, this Court should have briefing on the major-questions doctrine
when deciding this question. Although the Court could resolve these cases in
favor of the regulated parties without resorting to that doctrine, its
application independently resolves these cases by confirming that the
Commission cannot regulate secondary-market digital-asset transactions
without specific congressional authorization. Granting this petition therefore
ensures that this Court will be fully able to grapple with this important
argument because Coinbase, unlike Ripple, has pressed this argument at
every stage of the litigation.

Timing also poses no obstacle because this case can proceed alongside
Ripple for both briefing and argument. The Commission’s opening brief in

its Ripple appeal was filed just two days ago, and the entire four-brief

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schedule will conclude in July if the parties take their full allotted time. If
this Court promptly grants review here and elects to consolidate the appeals
for oral argument, then this case could catch up to the Repple briefing
schedule with at most a mildly expedited briefing schedule. In the
alternative, this Court could consolidate the appeals for briefing as well, and
set a new briefing schedule for both so that the incoming administration has
time to provide its considered thoughts on these enforcement actions and its
reading of the statutory scheme.
x x x

This appeal presents an unsettled, hugely significant question that will
shape the future of the cryptocurrency industry. Consumers, companies,
regulators, and lower courts alike would benefit from this Court’s guidance.
As the district court explained in a comprehensive order, this case is an ideal
candidate for certification under any view of the Section 1292(b) factors.
This Court should accept certification.

CONCLUSION

The Court should grant Coinbase permission to appeal from the

district court’s order denying the motion for judgment on the pleadings.

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January 17, 2025

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CERTIFICATE OF COMPLIANCE

Pursuant to Federal Rule of Appellate Procedure 32(¢), I hereby
certify that this brief complies with the type-volume limitation of Federal
Rule of Appellate Procedure 5(c)(1) because this brief contains 5,102 words,
excluding the parts of the brief exempted by Rule 32(f) of the Federal Rules
of Appellate Procedure. That approximation is based on the word-count
function of the word-processing program used to draft the brief.

I further certify that this brief complies with the requirements of
Rule 32(a) because this brief has been prepared in 14-point font in a
proportionally spaced typeface using Microsoft Word 2016.

Dated: January 17, 2025

/s/ Jeffrey B. Wall
Jeffrey B. Wall

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UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

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Docket Number:

Vv.
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